           Case 5:22-cv-04325-EJD Document 155 Filed 10/28/22 Page 1 of 9




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19                                 UNITED STATES DISTRICT COURT

20                               NORTHERN DISTRICT OF CALIFORNIA

21                                         SAN JOSE DIVISION

22    FEDERAL TRADE COMMISSION,                      Case No. 5:22-cv-04325-EJD
23           Plaintiff,                              DEFENDANTS META PLATFORMS,
24    v.                                             INC.’S AND WITHIN UNLIMITED, INC.’S
                                                     FINAL PARTY FACT WITNESS LIST
25    META PLATFORMS, INC., et al.,
                                                     Dept.: Courtroom 4 – 5th Floor
26           Defendants.                             Judge: Honorable Edward J. Davila
27

28

     DEFENDANTS’ FINAL PARTY FACT                                       CASE NO. 5:22-CV-04325-EJD
     WITNESS LIST
           Case 5:22-cv-04325-EJD Document 155 Filed 10/28/22 Page 2 of 9




 1                         DEFENDANTS’ FINAL PARTY FACT WITNESS LIST
 2           Pursuant to the Joint Stipulated Case Management Order at ¶ H.9.a (Dkt. 69) and Joint Stipulated
 3   Discovery Plan and Briefing Schedule at ¶ B.4 and Exh. A. (Dkt. 86), Defendants Meta Platforms, Inc.
 4   (“Meta”) and Within Unlimited, Inc. (“Within”) (collectively, “Defendants”) provide the below final list
 5   of party fact witnesses Defendants may call live at the preliminary injunction hearing (the “Hearing”) in
 6   this matter. Pursuant to ¶ B.4 of the Joint Stipulated Discovery Plan and Briefing Schedule, this list
 7   represents Defendants’ good faith effort to identify all party fact witnesses that Defendants may present
 8   at the Hearing, other than solely for impeachment. The witnesses identified below include the six (6)

 9   “most likely” party fact witnesses that the Defendants may call at the Hearing in this matter. The
10   witnesses listed below also include eight (8) additional party fact witnesses whom the Defendants “may”
11   call at the Hearing, depending on the witnesses and/or other evidence that Plaintiff Federal Trade
12   Commission (the “FTC”) presents at the Hearing.
13           In addition to calling any of the below witnesses at the Hearing, Defendants also reserve the right
14   to: (1) call any party fact witness at the Hearing who appears on the FTC’s final party fact witness list;
15   (2) call any fact witness at the Hearing who has been deposed or who the parties had a reasonable
16   opportunity to depose in this matter; (3) call any witness for impeachment, regardless of whether they
17   are included on the below list; (4) call the custodian of records of any party or non-party from whom
18   documents or records have been obtained to the extent necessary to demonstrate the authenticity or

19   admissibility of documents, in the event a stipulation cannot be reached; (5) call any non-party witness

20   who appears on Plaintiff’s or Defendants’ Final Non-Party Fact Witness List; and (6) supplement,

21   correct, or modify this list in light of any discovery that has not yet been completed.

22    I.   Defendants’ “Most Likely” Party Fact Witnesses
23
                                                   Summary of General Topics of Anticipated
24    Name                         Employer
                                                   Testimony
25    Andrew Bosworth              Meta            Meta’s proposed acquisition of Within; industry
                                                   dynamics, strategies, entry requirements, and features
26                                                 related to VR platforms, hardware, and/or content;
                                                   Meta’s VR strategy, and developer strategies; Meta’s
27                                                 incentives to grow VR and support third-party
28                                                 developers; Meta’s ability to develop VR content,
                                                   including VR fitness content; and development of VR
     DEFENDANTS’ FINAL PARTY FACT                                               CASE NO. 5:22-CV-04325-EJD
     WITNESS LIST
         Case 5:22-cv-04325-EJD Document 155 Filed 10/28/22 Page 3 of 9




 1                                      Summary of General Topics of Anticipated
      Name                   Employer
                                        Testimony
 2                                      content.
 3    Aaron Koblin           Within     Meta’s proposed acquisition of Within; the development
                                        of Supernatural; industry dynamics, strategies, entry
 4                                      requirements, and features related to VR platforms,
                                        hardware, and/or content; development of fitness
 5                                      content, including for Supernatural; Supernatural
 6                                      characteristics, including demographics appealed to,
                                        marketing efforts, pricing, and users; Within’s
 7                                      perception of Meta; Within’s perception of VR content
                                        developers; Within’s perception of fitness providers; and
 8                                      Supernatural’s competitive landscape.
 9    Chris Milk             Within     Meta’s proposed acquisition of Within; the development
                                        of Supernatural; industry dynamics, strategies, entry
10                                      requirements, and features related to VR platforms,
                                        hardware, and/or content; development of fitness
11                                      content, including for Supernatural; Supernatural
                                        characteristics, including demographics appealed to,
12                                      marketing efforts, pricing, and users; Within’s
13                                      perception of Meta; Within’s perception of VR content
                                        developers; Within’s perception of fitness providers; and
14                                      Supernatural’s competitive landscape.
      Mark Rabkin            Meta       Meta’s proposed acquisition of Within; industry
15
                                        dynamics, strategies, entry requirements, and features
16                                      related to VR platforms, hardware, and/or content,
                                        including but not limited to Supernatural; Meta’s VR
17                                      strategy, including Meta’s VR content and developer
                                        strategies; Meta’s incentives to grow VR and support
18                                      third-party developers; Meta’s ability to develop VR
19                                      content, including VR fitness content; and development
                                        of VR content.
20    Jason Rubin            Meta       Meta’s proposed acquisition of Within; industry
21                                      dynamics, strategies, entry requirements, and features
                                        related to VR platforms, hardware, and/or content,
22                                      including but not limited to Supernatural; Meta’s VR
                                        strategy and developer strategies; Meta’s incentives to
23                                      grow VR and support third-party developers; Meta’s
                                        ability to develop VR content, including VR fitness
24                                      content; and development of VR content.
25
      Mark Zuckerberg        Meta       Meta’s proposed acquisition of Within; industry
26                                      dynamics, strategies, entry requirements, and features
                                        related to VR platforms, hardware, and/or content,
27
                                        including but not limited to Supernatural; Meta’s VR
28                                      strategy and developer strategies; Meta’s incentives to

     DEFENDANTS’ FINAL PARTY FACT            2                      CASE NO. 5:22-CV-04325-EJD
     WITNESS LIST
           Case 5:22-cv-04325-EJD Document 155 Filed 10/28/22 Page 4 of 9




 1                                         Summary of General Topics of Anticipated
      Name                    Employer
                                           Testimony
 2                                         grow VR and support third-party developers; and Meta’s
 3                                         ability to develop VR content.

 4

 5   II.   Additional Party Fact Witnesses Whom Defendants “May” Call

 6
                                           Summary of General Topics of Anticipated
 7    Name                    Employer
                                           Testimony
 8    Jaroslav Beck           Meta         Meta’s acquisition of Beat Games; industry dynamics,
                                           strategies, entry requirements, and features related to VR
 9                                         platforms, hardware, and/or content, including but not
                                           limited to Beat Saber; Beat Games’ ability to develop
10                                         VR content, including VR fitness content; and
11                                         development of VR content.
      Deborah Guzman Barrios Meta          Meta’s acquisition of Beat Games; industry dynamics,
12                                         strategies, entry requirements, and features related to VR
                                           platforms, hardware, and/or content, including but not
13                                         limited to Beat Saber; Beat Games’ ability to develop
                                           VR content, including VR fitness content; and
14
                                           development of VR content.
15
      Melissa Brown           Meta         Meta’s proposed acquisition of Within; industry
16                                         dynamics, strategies, entry requirements, and features
                                           related to VR platforms, hardware, and/or content,
17                                         including but not limited to Supernatural; Meta’s VR
                                           strategy and developer strategies; Meta’s incentives to
18
                                           grow VR and support third-party developers; Meta’s
19                                         ability to develop VR content, including VR fitness
                                           content; and development of VR content.
20
      Anand Dass              Meta         Meta’s proposed acquisition of Within; industry
21                                         dynamics, strategies, entry requirements, and features
22                                         related to VR platforms, hardware, and/or content,
                                           including but not limited to Supernatural; Meta’s VR
23                                         strategy and developer strategies; Meta’s incentives to
                                           grow VR and support third-party developers; Meta’s
24                                         ability to develop VR content, including VR fitness
                                           content; and development of VR content.
25
      Chris Pruett            Meta         Meta’s proposed acquisition of Within; industry
26                                         dynamics, strategies, entry requirements, and features
27                                         related to VR platforms, hardware, and/or content;
                                           Meta’s VR strategy, including Meta’s VR content,
28                                         fitness, Beat Saber, Supernatural, and developer

     DEFENDANTS’ FINAL PARTY FACT               3                      CASE NO. 5:22-CV-04325-EJD
     WITNESS LIST
             Case 5:22-cv-04325-EJD Document 155 Filed 10/28/22 Page 5 of 9




 1                                                Summary of General Topics of Anticipated
         Name                      Employer
                                                  Testimony
 2                                                strategies; Meta’s incentives to grow VR and support
 3                                                third-party developers; Meta’s ability to develop VR
                                                  content, including VR fitness content; and development
 4                                                of VR content.

 5       Rade Stojsalvjevic        Meta           Meta’s proposed acquisition of Within; industry
                                                  dynamics, strategies, entry requirements, and features
 6                                                related to VR platforms, hardware, and/or content,
                                                  including but not limited to Supernatural; Meta’s VR
 7                                                strategy, including Meta’s VR content, fitness, Beat
 8                                                Saber, Supernatural, and developer strategies; Meta’s
                                                  incentives to grow VR and support third-party
 9                                                developers; Meta’s ability to develop VR content,
                                                  including VR fitness content; and development of VR
10                                                content.
11       Michael Verdu1            Formerly       Meta’s proposed acquisition of Within; industry
                                   Meta           dynamics, strategies, entry requirements, and features
12                                                related to VR platforms, hardware, and/or content,
                                                  including but not limited to Supernatural; Meta’s VR
13                                                strategy and developer strategies; Meta’s incentives to
                                                  grow VR and support third-party developers; Meta’s
14                                                ability to develop VR content, including VR fitness
15                                                content; and development of VR content.
         FTC 30(b)(6) Designee     FTC            Topics addressed at corporate representative deposition.
16

17

18

19       Dated: October 28, 2022                      By: /s/ Bambo Obaro

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     1
      Defendants may rely on portions of Mr. Verdu’s deposition testimony in lieu of live testimony if he is
28   unavailable to testify at the Hearing.
     DEFENDANTS’ FINAL PARTY FACT                      4                      CASE NO. 5:22-CV-04325-EJD
     WITNESS LIST
         Case 5:22-cv-04325-EJD Document 155 Filed 10/28/22 Page 6 of 9




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     DEFENDANTS’ FINAL PARTY FACT           5                  CASE NO. 5:22-CV-04325-EJD
     WITNESS LIST
         Case 5:22-cv-04325-EJD Document 155 Filed 10/28/22 Page 7 of 9




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     DEFENDANTS’ FINAL PARTY FACT           6                   CASE NO. 5:22-CV-04325-EJD
     WITNESS LIST
          Case 5:22-cv-04325-EJD Document 155 Filed 10/28/22 Page 8 of 9




 1                                      CERTIFICATE OF SERVICE
 2          I declare that I am employed with the law firm of Weil, Gotshal & Manges LLP, whose address
 3   is 201 Redwood Shores Parkway, Redwood Shores, California 94065 (hereinafter “WGM”). I am not a
 4   party to the within cause, I am over the age of eighteen years, and my email address is
 5   tricia.dresel@weil.com. I further declare that on October 28, 2022, I served a copy of the foregoing:
 6          BY ELECTRONIC SERVICE by electronically mailing a true and correct copy through
 7   WGM’s electronic mail system to the email address(es) set forth in the service list below.
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          Case 5:22-cv-04325-EJD Document 155 Filed 10/28/22 Page 9 of 9




 1          Executed on October 28, 2022, at San Jose, California. I declare under penalty of perjury under
 2   the laws of the United States, that the foregoing is true and correct.
 3

 4

 5                                                     PATRICIA DRESEL

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     CERTIFICATE OF SERVICE                               2                   CASE NO. 5:22-CV-04325-EJD
